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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


BOON SOON MOORS,                                      )
                                                      )
               Plaintiff                              )
                                                      )
v.                                                    )
                                                      )       FIRST AMENDED COMPLAINT
EDUCATIONAL TESTING SERVICE;                          )       JURY TRIAL REQUESTED
STATE OF MAINE DEPT. OF EDUCATION;                    )       Civil Action No. 1:17-cv-224-NT
ROBERT G. HASSON, JR., in his official                )
capacity as Commissioner of the Department            )
of Education of the State of Maine,                   )
                                                      )
               Defendants                             )


       Plaintiff hereby complains against Defendants, as follows:

                                        INTRODUCTION

       1.      This is an action for declaratory and injunctive relief, and damages, to redress the

deprivation of certain civil rights secured by the Maine Human Rights Act, the Americans with

Disabilities Act and the Rehabilitation Act. Plaintiff Boon Soon Moors, who is deaf, wishes to

attain her high school equivalency degree. But Defendants subjected her to discrimination by

denying her request for reasonable modification, an ASL interpreter. Defendants also failed to

afford her an opportunity to participate in services that are equal to those afforded to others;

Defendants further used standards or criteria that have the effect of discriminating based on

disability, and that perpetuate discrimination against persons with disabilities.

                                  JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over this action under 28 U.S.C. §§

1331 and 1343(a)(4).

       3.      Venue is proper in this Court under 28 U.S.C. § 1391(b).
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                                            PARTIES

       4.      Plaintiff, Boon Soon Moors (hereafter “Moors”), is a resident of Gardiner, County

of Kennebec, State of Maine and is a citizen of the United States. Moors is at least 18 years old.

Moors is deaf. As a result of her deafness, Moors is substantially limited in the major life

activity of hearing, speaking, reading and communicating, among other major life activities. She

is substantially limited in the major bodily function of auditory functions. Moors’ deafness or

abnormal hearing loss constitutes a per se disability under the Maine Human Rights Act. Due to

her deafness, she requires, and at all relevant times received, vocational rehabilitation or other

related services.

       5.      Moors is a person with a disability pursuant to the Maine Human Rights Act, the

Americans with Disabilities Act as amended, and Section 504 of the Rehabilitation Act.

       6.      Moors is a qualified individual with a disability in that she can—with reasonable

modification to rules, policies or practices; the removal of architectural, communication or

transportation barriers; or the provision of auxiliary aids and services—meet the essential

eligibility requirements for the receipt of services or the participation of programs provided by

Defendants.

       7.      Defendant Educational Testing Service (hereafter “ETS”) is a standardized testing

firm that develops and administers tests related to applications, licensing, certification, or

credentialing for secondary or postsecondary education, professional or trade purposes. ETS is a

private, nonprofit organization that develops and administers standardized tests each year at

more than 9,000 locations in the United States, including Maine. ETS is headquartered at

Rosedale Road, Princeton, New Jersey.

       8.      At all relevant times, ETS received federal financial assistance.




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       9.     Defendants State of Maine, Department of Education (hereafter “Department of

Education”) and Robert G. Hasson, Jr., Commissioner of the Department of Education of the

State of Maine (hereafter “Commissioner Hasson”), are responsible for setting eligibility

requirements for the award of the Maine High School Equivalency (“HSE”) Diplomas.

Commissioner Hasson and the State of Maine are also responsible for issuing and certifying HSE

certificates for the award the Maine High School Equivalency Diplomas.

       10.    At all relevant times, Department of Education received federal financial

assistance.

       11.    At all relevant times, Department of Education has had a contract with ETS to

administer the High School Equivalency Test (“HiSET”) in Maine.

                                           FACTS

       12.    Moors has been deaf since early childhood. She attended public schools for the

deaf in South Korea, where she received direct instruction in Korean Sign Language. In 2002,

Moors emigrated to the United States and became a U.S. citizen. Since coming to the United

States, Moors has used American Sign Language (ASL) as her primary and preferred form of

communication.

       13.    Moors’ ability to understand and use spoken or written English is rudimentary.

Spoken English, written English and finger-spelled English words are not an effective means of

communication for Moors.

       14.    At all material times, Moors has required the use of ASL for effective

communication.

       15.    Moors has received ASL interpretation as an accommodation for testing and other

important communications. For example, she received ASL interpretation as a testing




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accommodation for her driver’s license exam, for her exam to become a United States citizen,

and for her exam to be certified as a Personal Support Specialist (PSS). Moors also requires an

ASL interpreter for medical care, legal services, vocational rehabilitation services, and all other

important communications.

        16.     In 2015, Moors undertook steps toward earning her high school equivalency

(HSE) degree. She needed this to advance her career, and to increase her earning potential and

work opportunities.

        17.     With assistance from her vocational rehabilitation counselor through the Maine

Department of Labor, Moors contacted her local adult education office to sign up for classes to

prepare for the HiSET examination.

        18.     Defendant ETS requires applicants who need accommodations for disabilities to

submit their requests to “ETS Disability Services” before the HiSET exam can be scheduled.

        19.     In 2015, Moors submitted her request for testing accommodations—which

included a sign language interpreter to administer the test, and extended time—to ETS Disability

Services.

        20.     In a letter dated June 19, 2015, ETS informed Moors that she had been approved

for 100 percent extended time, and a sign language interpreter for spoken directions only.

        21.     ETS did not approve Moors’ request for a sign language interpreter for the entire

test for the following reason: “Due to concerns with the validity of your test scores a sign

language interpreter for the entire test is not possible.”

        22.     In a follow-up letter to Moors dated June 22, 2015, ETS stated: “The following

test accommodations have been approved for the HiSET paper-based test administration: Extra




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Breaks (15 minutes per section); 100 percent (double time); Sign language interpreter (for

spoken directions only).”

       23.    On or about May 8, 2017, Moors submitted a new request for testing

accommodations to ETS Disability Services, including a sign language interpreter (for spoken

directions and tests); 100 percent extended time; and extra breaks. In support of her request for

testing accommodations, Moors included the required HiSET Testing Accommodation Request

Form; Audiology Reports (completed in 2014 and 2017 by MaineGeneral Medical Center); a

personal letter; and a Communications Assessment dated March 19, 2016 by Romy Spitz, Ph.D.,

Deafness and Visual Gestural Communication Specialist and Adjunct Professor of Linguistics,

University of Southern Maine.

       24.    On Friday, June 9, 2017, ETS informed Moors that Moors’ request for an ASL

interpreter for the HiSET test was denied. ETS stated that the Department of Education would

not certify or accept test scores for any HiSET tests administered in any language other than

English or Spanish.

       25.    On Thursday, June 15, 2017, Moors, through counsel, requested reasonable

modification from Gail Senese, Ph.D., State Director of the Office of Adult Education and

Literacy, Maine Department of Education.           Moors, through counsel, requested that the

Department of Education’s policy and practice of only offering the HiSET in English and

Spanish be modified to allow her to take the exam with a qualified sign language interpreter.

Moors, through counsel, indicated that she is deaf and her primary method of communication is

in ASL. As such, she requires reasonable modification to have the HiSET test administered

through an ASL interpreter. Moors, through counsel, also informed Senese that administering

the test and instructions in ASL will best ensure that the HiSET accurately measures Moors’




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knowledge and understanding of established standards related to obtaining a high school

equivalency degree, rather than measuring her disability.

        26.     On Thursday, June 15, 2017, Department of Education denied Moors’ request to

take the HiSET exam with an ASL interpreter, on the grounds that the HiSET is only offered in

English and Spanish. State Defendants indicated that the only approved accommodations for

deaf test-takers do not include an ASL version, or administration of the test with the use of a

skilled interpreter.

        27.     Moors would like to earn her high school credentials, but is unable to do so

without reasonable modification from ETS, Department of Education and Commissioner Hasson,

which they have denied.

        28.     Defendants Department of Education, Commissioner Hasson, and ETS have

discriminated against Moors based on her disability, failed to provide her with reasonable

modification, insisted on administering the HiSET in a discriminatory way, and treated Moors

less favorably than others because of her disability.

        29.     Moors has experienced inconvenience and other pecuniary losses, mental anguish,

and emotional distress as a direct result of Defendants’ failure to provide testing

accommodations, including an ASL interpreter.

                                            COUNT I
                         ADA Title II Claim Against Defendant Hasson only

        30.     Moors realleges and hereby incorporates by reference the above paragraphs as if

set forth in their entirety.

        31.     This claim is brought solely against public official Commissioner Hasson

pursuant to Ex Parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L.Ed. 714 (1908).




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       32.     Subtitle A of Title II of the Americans with Disabilities Act applies to state

governments. 42 U.S.C. §§ 12131–12134. Regulations implementing subtitle A are codified at

28 C.F.R. part 35.

       33.     Moors has a “disability” within the meaning of 42 U.S.C. § 12102(2) and 28

C.F.R. § 35.104, as amended.

       34.     Moors is a “qualified individual with a disability” within the meaning of 42

U.S.C. § 12131(2) and 28 C.F.R. § 35.104 because she meets all eligibility criteria.

       35.     The Department of Education is a public entity within the meaning of 42 U.S.C. §

12131(1)(A) and 28 C.F.R. § 35.104.

       36.     Any person (including both public and private entities) that offers examinations

related to applications, licensing, certification, or credentialing for secondary or postsecondary

education, professional, or trade purposes must offer such examinations “in a place and manner

accessible to persons with disabilities or offer alternative accessible arrangements for such

individuals.” 42 U.S.C. § 12189.

       37.     The Department of Education’s policy or practice of only offering the HiSET in

English or Spanish, and refusing to modify this practice or policy for Moors, who is deaf and

requires American Sign Language for effective communication, violates 42 U.S.C. § 12189

described above, and also violates 42 U.S.C. § 12132 which states that:

       [s]ubject to the provisions of this title, no qualified individual with a disability shall, by
       reason of such disability, be excluded from participation in or be denied the benefits of
       the services, programs, or activities of a public entity, or be subjected to discrimination
       by any such entity.

       38.     Defendant further violates the regulations listed below in the following respects:

       (a)     28    C.F.R.   §   35.130(b)(6)—Defendants       Department     of   Education    and

Commissioner Hasson are administering a licensing or certification program in a manner that



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subjects qualified individuals with disabilities, including Moors, to discrimination on the basis of

disability.

        (b)     28    C.F.R.   §   35.130(b)(6)—Defendants     Department     of   Education    and

Commissioner Hasson have established requirements for the programs or activities of licensees

or certified entities that subject qualified individuals with disabilities, including Moors, to

discrimination on the basis of disability.

        (c)     28    C.F.R.   §   35.130(b)(7)—Defendants     Department     of   Education    and

Commissioner Hasson have failed to make reasonable modifications in policies, practices, or

procedures, including the provision of a sign language interpreter for Moors, when the

modifications are necessary to avoid discrimination on the basis of disability, and when the

modification would not fundamentally alter the nature of the service, program, or activity.

        (d)     28 C.F.R. § 35.160(b)—Defendants Department of Education and Commission

Hasson have failed to furnish appropriate auxiliary aids and services where necessary to afford

Moors an equal opportunity to participate in, and enjoy the benefits of, a service, program, or

activity of a public entity.

        39.     As a result of Defendant’s violations of the ADA and its implementing

regulations, they are liable to Moors for prospective injunctive relief, and attorneys fees and

costs, under 42 U.S.C. § 12133.

                                             COUNT II
                     Section 504 of the Rehabilitation Act of 1973 Claim Against
                               Department of Education and ETS Only

        40.     Moors realleges and hereby incorporates by reference the above paragraphs as if

set forth in their entirety.




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        41.     Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. 794 (“Section 504”),

states that “no otherwise qualified handicapped individual in the United States … solely by

reason of his or her handicap, may be excluded from the participation in, be denied the benefits

of, or be subjected to discrimination under any program or activity receiving federal financial

assistance or under any program or activity conducted by any Executive agency …”

        42.     Moors is a qualified individual because she meets all the eligibility requirements

and other requirements under the Rehabilitation Act.

        43.     Moors is being subjected to discrimination in testing, which meets the definition

of “program or activity” pursuant to § 504(b)(1)(A). Defendant Department of Education is a

program or activity within the meaning of § 504 because it is a department or agency of state

government. 29 U.S.C. § 794(b)(i)(A). Defendant ETS is a program or activity within the

meaning of 504 because it is a corporation or other private organization. 29 U.S.C. § 794(b)(3).

        44.     Defendants Department of Education and ETS are both recipients of federal

financial assistance, and are therefore subject to the provisions of the Rehabilitation Act of 1973.

        45.     The protections of § 504 are the same as those in the Title II claim listed above,

and the acts described above also violate § 504.

                                            COUNT III
                               ADA Title III Claim Against ETS Only

        46.     Moors realleges and hereby incorporates by reference the above paragraphs as if

set forth in their entirety.

        47.     Title III of the Americans with Disabilities Act applies to private entities that

offer examinations. Regulations implementing Title III are codified at 28 C.F.R. part 36.

        48.     Defendant ETS is a “public accommodation” within the meaning of Title III of

the ADA.



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       49.     Any person (including both public and private entities) that offers examinations

related to applications, licensing, certification, or credentialing for secondary or postsecondary

education, professional, or trade purposes must offer such examinations “in a place and manner

accessible to persons with disabilities or offer alternative accessible arrangements for such

individuals.” 42 U.S.C. § 12189.

       50.     Defendant ETS’s policy or practice of only offering the HiSET in English or

Spanish, and refusing to modify this practice or policy for Moors, who is deaf and requires

American Sign Language for effective communication, violates Title III of the ADA.

       51.     Defendant ETS violates the regulations listed below in the following respects:

       (a)     28 C.F.R. § 36.301—ETS is imposing or applying eligibility criteria that screen

out or tend to screen out Moors, an individual with a disability, from fully and equally enjoying

Defendant ETS’s goods and services.

       (b)     28 C.F.R. § 36.302—ETS has failed to make reasonable modifications in policies,

practices or procedures, when the modifications are necessary to afford goods and services to

Moors, an individual with a disability.

       (c)     28 C.F.R. §§ 36.303(a) and (a)(1)—By its failure to provide a qualified interpreter

to Moors, ETS has failed to take steps that may be necessary to ensure that Moors is not

excluded, denied services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.

       (d)     28 C.F.R. § 36.303(c)—By its failure to provide a qualified interpreter to Moors,

ETS failed to furnish appropriate auxiliary aids and services including a qualified interpreter,

where a qualified interpreter was necessary to ensure effective communication with Moors.




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          (e)   28 C.F.R. § 36.309(a)—ETS, a private entity that offers examinations related to

applications, licensing, certifications, or credentialing for secondary education, professional or

trade purposes, failed to offer its examinations in a place and manner accessible to Moors or

offer alternative arrangements for her.

          (f)    28 C.F.R. § 36.309(b)(1)(i)—ETS has failed to assure that, the examination is

selected and administered to Moors so as to best ensure that it accurately reflects the individual’s

aptitude or achievement level or whatever other factor the examination purports to measure,

rather than reflecting Moors’ impaired sensory or speaking skills.

          (g)   28    C.F.R.    §   36.309(b)(1)(v)—When         considering     Moors’    request   for

modifications, accommodations or auxiliary aid services, ETS failed to give appropriate weight

to documentation of past modifications received in similar testing situations.

          (h)   28 C.F.R. § 36.309(b)(3)—ETS refused to provide appropriate auxiliary aids (a

qualified interpreter) for Moors, who because of her deafness, has impaired sensory and speaking

skills.

                                              COUNT IV
                               Violation of the Maine Human Rights Act
                                           Against ETS Only

          52.   Moors realleges and hereby incorporates by reference the above paragraphs as if

set forth in their entirety.

          53.   Defendant, ETS, is a place of public accommodation pursuant to the Maine

Human Rights Act.

          54.   Defendant, ETS, is a private entity that offers examinations or courses.

          55.   ETS      discriminated    against        Moors   by   refusing     her     request   for

modification/accommodation to provide her with an American Sign Language interpreter and




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therefore denying her right to reasonable modification, in violation of the Maine Human Rights

Act.

       56.     ETS discriminated against Moors by refusing to provide her with an American

Sign Language interpreter and thereby treating her differently than other individuals, in violation

of the Maine Human Rights Act.

       57.     ETS discriminated against Moors by its method of administration in violation of

the Maine Human Rights Act.

       58.     The protections of the Maine Human Rights Act are the same as those in the Title

III claim listed above, and the acts described above also violate the Maine Human Rights Act.

       59.     Defendant has violated the Maine Human Rights Act, 5 M.R.S.A. §§ 4592(1), (4),

(5), (7) and 94-348 C.M.R. Ch. 7, §§ 7.02(A); 7.03(A), (B); 7.04(a); 7.05; 7.15(A); 7.16(A);

7.17(A)–(C); 7.23.

                                    PRAYER FOR RELIEF

       Plaintiff Boon Soon Moors requests judgment in her favor and the following relief:

       A declaratory judgment holding that Defendants’ practices complained of herein violate

the Americans with Disabilities Act, the Rehabilitation Act and the Maine Human Rights Act;

       A permanent injunction enjoining Defendants from discriminating against Moors;

       An order enjoining Defendants to adopt and implement policies and practices to ensure

that Defendants carry out their services in a nondiscriminatory manner;

       Appropriate civil penal damages pursuant to the Maine Human Rights Act;

        Compensatory damages to Moors pursuant to § 504 only;

       Costs and reasonable attorneys fees under 42 U.S.C. § 12205, 29 U.S.C. § 794a(b), 5

M.R.S. § 4622(1), and other appropriate statutes;




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     Any and all other relief as may be necessary and appropriate.



DATED:      October 6, 2017                      Kristin L. Aiello_____________
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